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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


CROSS THE ROAD ELECTRONICS,
LLC,

       Plaintiff,
                                                     Case No. 6:19-cv-270-ADA-JCM
v.

DIGILENT, INC,

       Defendant.




             STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE


       Plaintiff Cross The Road Electronics, LLC, and Defendant Digilent, Inc., pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii), hereby jointly move for an order dismissing all claims and

counterclaims in this action with prejudice to refiling same, subject to the terms a Settlement

Agreement, with each party to bear its own costs, expenses and attorneys’ fees.




Dated: June 24, 2020                                 Respectfully Submitted:




                                              By:
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via the Court’s ECF system on June 24, 2020.

                                                   /s/ Jared Hoggan
                                                   Jared Hoggan




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